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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

Flava Works, Inc.,                             )
                                               )
                       Plaintiff,              )       Case No. 1:12-cv-01886
                                               )
                                               )
       v.                                      )
                                               )
Gregory Nance,                                 )
                                               )
                       Defendant.              )

  MEANITH HUON’S AND THE HUON LAW FIRM’S MOTION TO WITHDRAW AS
                       COUNSEL OF RECORD

       Meanith Huon and The Huon Law Firm, move to withdraw as attorney of record for

Plaintiff, Flava Works, Inc. In support of the motion, Meanith Huon and The Huon Law Firm

state as follows:

       1.      Illinois Supreme Court Rule 1.16 provides as follows:

       (a) Except as stated in paragraph (c), a lawyer shall not represent a client or, where
       representation has commenced, shall withdraw from the representation of a client if:

       (1) the representation will result in violation of the Rules of Professional Conduct or other
       law;

       *                                       *                                       *

       (3) the lawyer is discharged.

       *                                       *                                       *

       (b) Except as stated in paragraph (c), a lawyer may withdraw from representing a client if:

       (1) withdrawal can be accomplished without material adverse effect on the interests of the
       client;

       *                                       *                                       *

       (4) the client insists upon taking action that the lawyer considers repugnant or with which
       the lawyer has a fundamental disagreement;

       (5) the client fails substantially to fulfill an obligation to the lawyer regarding the lawyer's
     Case: 1:12-cv-01886 Document #: 29 Filed: 01/03/14 Page 2 of 2 PageID #:241
      services and has been given reasonable warning that the lawyer will withdraw unless the
      obligation is fulfilled;

       (6) the representation will result in an unreasonable financial burden on the lawyer or has
       been rendered unreasonably difficult by the client; or

       (7) other good cause for withdrawal exists.

       2.     In this case, the representation will result in an unreasonable financial burden on
the lawyer and other good cause for withdrawal exists.

       WHEREFORE, Meanith Huon and The Huon Law Firm, respectfully request that this

Honorable Court grant him leave to withdraw as counsel of record for Plaintiff, Flava Works, Inc.

                                             Respectfully submitted,

                                             /s/ Meanith Huon

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                                CERTIFICATE OF SERVICE

        Under penalties of law, I attest the following documents or items have been or are being
electronically served on all counsel of record on or before January 3, 2014

  MEANITH HUON’S AND THE HUON LAW FIRM’S MOTION TO WITHDRAW AS
                       COUNSEL OF RECORD




                                                     Respectfully submitted,
                                                     /s/ Meanith Huon
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